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Joe M. Allbaugh, Director                                           Signature on File
Oklahoma Department of Corrections


                            Oklahoma Prison Rape Elimination Act
It is the policy of the Oklahoma Department of Corrections (ODOC) to provide a safe,
humane, and secure environment for all inmates. The agency supports and administers
a program of education, prevention, detection, response, investigation and tracking of
all reported acts of sexual assault, abuse and harassment. Punishment for the
perpetrator is enforced.

The program includes treatment for the victim and the perpetrator and includes ongoing
required support for the victim. The agency also provides education to inmates and staff
regarding staff sexual misconduct and harassment.

During the admission process, all inmates are provided information about sexual
assault, abuse or harassment to include: prevention/intervention, self-protection,
reporting sexual assault, treatment and counseling. (4-4281-1)

For the purpose of this procedure, the terms “staff” and “employee” includes all ODOC
employees, contract personnel, contract employers, volunteers, official visitors or other
agency representatives. (PREA 115.77(a)) The term “facility” shall refer to all state
institutions, community centers and private prisons.

I.        Definitions

          A.       PREA

                   The Prison Rape Elimination Act of 2003, an Act signed into law with the
                   goal of preventing, detecting and responding to sexual abuse occurring in
                   confinement facilities.
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       B.     Sexual Assault Predator

              An inmate who has been identified and documented in the Offender
              Management System (OMS) as one who sexually abuses other inmates
              within the correctional setting.

       C.     SANE/SAFE

              SANE- Acronym for “Sexual Assault Nurse Examiner.” Medical staff
              specially trained in the examination and collection of forensic evidence
              pursuant to a sexual assault.

              SAFE- Acronym for “Sexual Assault Forensic Examiner.” Medical staff
              specifically trained to provide forensic examinations to sexual assault
              victims.

       D.     Facility PREA Compliance Manager

              A deputy warden or community center director designated by the
              facility/unit head at each facility to assist the facility/unit head in ensuring
              elements of the PREA Act are met in a coordinated fashion.

       E.     Youthful Inmate

              Any person under the age of 18 who is under adult court supervision and
              incarcerated or detained in a prison or jail.

       F.     Voyeurism (by a staff member, contractor, or volunteer)

              An invasion of privacy of an inmate, detainee, or resident by staff for
              reasons unrelated to official duties, such as: peering at an inmate who is
              using a toilet in his or her cell to perform bodily functions; requiring an
              inmate to expose his or her buttocks, genitals, or breasts; or taking images
              of all or part of an inmate’s naked body or of an inmate performing bodily
              functions.

       G.     LGBQTI

              Acronym for a group of sexual minorities including: lesbian, gay, bisexual,
              transgender, questioning and intersex individuals.

       H.     Lesbian

              Commonly refers to women typically sexually attracted to other women.

       I.     Gay

              Commonly refers to men typically sexually attracted to other men.
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       J.     Bisexual

              A person who is romantically or sexually attracted to more than one
              gender or sexual category.

       K.     Transgender

              A person whose gender identity differs from their birth sex.

       L.     Intersex

              A condition in which a person is born with external genitalia, internal
              reproductive organs, chromosome patterns, and /or an endocrine system
              that does not fit typical definitions of male or female.

       M.     Questioning

              Active process in which a person explores her or his own sexual
              orientation and/or gender identity and questions the cultural assumptions
              that they are heterosexual and/or gender conforming.

       N.     Sex

              The sex of individuals assigned at birth based on observed genitalia.

       O.     Gender Nonconforming

              The term used when behavior or gender expression by an individual
              different from societal expectations related to gender.

       P.     Gender Dysphoria (GD)

              A condition where there is clinically significant discontent or distress with
              one’s sex assigned at birth and/or the gender roles associated with that
              sex.

       Q.     Substantiated Allegation

              An allegation that was investigated and determined to have occurred.

       R.     Unsubstantiated Allegation

              An allegation that was investigated and the investigation produced
              insufficient evidence as to whether or not the event occurred.

       S.     Unfounded Allegations

              An allegation that was investigated and determined not to have occurred.
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II.    Zero Tolerance

       ODOC maintains a zero tolerance for inmate-on-inmate sexual assault, staff
       sexual misconduct and sexual harassment toward inmates. Every allegation of
       sexual assault, abuse, misconduct and harassment is thoroughly investigated.
       PREA posters will be displayed throughout each facility and will be visible to all
       staff, inmates, and visitors. (2-CO-1C-11, 4-4281, 4-ACRS-6A-05, 4-APPFS-3E-
       05) (PREA 115.11; 115.211)

       When the agency learns an inmate is subject to substantial risk of imminent
       sexual abuse, it shall take immediate action to protect the inmate. (PREA 115.62
       (a); 115.262 (a))

       Victims of forced and/or pressured sexual acts may suffer severe physical and
       psychological harm and could possibly be infected with a life-threatening
       disease. Consequently, each facility shall implement a Sexual Assault Prevention
       Program      that    includes:     prevention,   detection,    response,    and
       prosecution/discipline of assailants.

       The prohibited conduct identified below applies to all employees, volunteers and
       contract staff of ODOC. Sexual conduct between staff and inmates is strictly
       prohibited, subject to administrative disciplinary sanctions and referral for
       prosecution (21 O.S. § 1111. 7). (4-4281-6)(PREA 115.76(d))

       A.     The agency shall designate a Prison Rape Elimination Act (PREA)
              coordinator to oversee agency efforts to comply with PREA standards.
              This position shall have sufficient time and authority to develop, implement
              and oversee the agency’s efforts to comply. (PREA 115.11(b)(c)); 115.211
              (b)(c))

              1.      A deputy warden at each facility (minimum security and above)
                      shall serve as the facility PREA Compliance Manager (PCM) with
                      overall responsibility of coordinating facility efforts to comply with
                      PREA standards. (PREA 115.11(c)) An alternate PCM shall also be
                      designated.

              2.      Community center directors shall serve as the point of contact for
                      PREA related issues and compliance.

              3.      The PCM and designated staff at community centers shall make
                      recommendations regarding any treatment, counseling or special
                      housing needed for those inmates identified as predators or victims.

       B.     All staff and inmates shall be responsible for being alert to signs of
              potential situations in which assaults or abuse could occur.

       C.     Staff shall be aware of each inmate’s state of undress during times
              inmates may be showering, changing clothes or performing bodily
              functions.
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              1.      Minimum, medium and maximum facilities shall ensure that at the
                      beginning of each shift an announcement is made in the housing
                      units notifying inmates that staff of the opposite gender will enter or
                      be present on the housing unit during the shift.

              2.      When the gender of the staff on the housing unit changes to the
                      opposite gender, a notification will be made to inmates announcing
                      the staff member’s presence when entering an inmate housing unit.
                      (PREA 115.15 (d))

              3.      Community centers shall require staff of the opposite gender to
                      announce their presence when entering an area where inmates are
                      likely to be showering, performing bodily functions, or changing
                      clothing. (PREA 115.215 (d))

              4.      Facilities will ensure signage in areas such as housing, shower,
                      and restroom areas indicating opposite gender staffing and the
                      inmate’s responsibility to be in a state of dress at all times.

              5.      An inmate shall be able to shower, perform bodily functions and
                      change clothing without non-medical staff of the opposite gender
                      viewing their breasts, buttocks, or genitalia, except in exigent
                      circumstances or when such viewing is incidental to routine cell
                      checks. (PREA 115.15 (d), 115.215(d))

       D.     Each facility shall ensure written policy and practice of having intermediate
              level or higher-level supervisors conduct and document unannounced
              rounds during day and night shifts to identify and deter staff sexual abuse
              and sexual harassment. (PREA 115.13 (d))

              1.      These rounds will be documented in shift logs.

              2.      Staff are prohibited from alerting other staff members that these
                      supervisory rounds are occurring unless such announcement is
                      related to the legitimate operational functions of the facility. (PREA
                      115.13(d))

III.   Definitions and Clarification of Prohibited Conduct

       There shall not be any standard higher than a preponderance of the evidence in
       determining whether allegations of sexual abuse or sexual harassment are
       substantiated. (PREA 115.72)

       The presumptive disciplinary sanction for staff who have engaged in sexual
       abuse of an inmate is termination. (PREA 115.76(b), 115.276(b))

       A.     Inappropriate Sexual Conduct (PREA 115.76(b)(c); 115.77(a))
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              1.      Sexual Abuse, Assault, Rape

                      a.     Sexual abuse and/or rape includes, but is not limited to;
                             sexual intercourse, oral or anal sodomy, sexual acts with
                             instruments, sexual assault with an object, sexual fondling of
                             a person, or sexual exploitation.

                             (1)    In addition, rape is defined as, sexual intercourse that
                                    is forced, against that person's will, by coercion or by
                                    fear or threat of physical violence or bodily injury.

                             (2)    Rape and related sex crimes may also be defined by
                                    Oklahoma statute and include, but are not necessarily
                                    limited to, the elements defined in each crime (21 O.
                                    S. § 1111, 1111.1, 886, 888, 1123).

                      b.     Effective November 1, 2000, sodomy committed by a state,
                             county, municipal or political subdivision employee or a
                             contractor or an employee of a contractor of the state, a
                             county, a municipality or political subdivision of this state
                             upon a person who is under the legal custody, supervision or
                             authority of a state agency, a county, a municipality or a
                             political subdivision of this state is defined by law as a felony
                             (21 O.S. § 888).

              2.      Sexual Contact/Intimacy/Battery

                      a.     The intentional touching, mauling or feeling, either directly or
                             through clothing, of the genitalia, anus, groin, breast, inner
                             thighs or buttocks, or kissing, of any inmate, when such
                             touching is unrelated to the necessary performance of job
                             duties. Conversation or correspondence which may
                             demonstrate or suggest a romantic or intimate relationship
                             exists.

                      b.     Sexual battery committed by a state, county, municipal or
                             political subdivision employee or a contractor or an
                             employee of a contractor of the state, county, municipality or
                             political subdivision of this state upon a person who is under
                             the legal custody, supervision or authority of a state agency,
                             a county, a municipality or a political subdivision of this state
                             is defined by law as a felony. 21 O.S. § 1123.

              3.      Sexual Harassment

                      a.     Repeated sexually offensive comments, gestures or any
                             physical conduct which is of a sexual nature or sexually
                             suggestive.
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                      b.     Influencing, promising or threatening an inmate’s safety,
                             custody or security level (including recommendations for
                             court actions), privacy, housing, privileges, work detail or
                             program status in exchange for sexual favors.

                      c.     Creating an intimidating, hostile or offensive environment for
                             an inmate or others by engaging in or permitting sexually
                             offensive behavior or language that is directed at or
                             observable by inmates or others.

       B.     Invasion of Privacy

              The act of observing, attempting to observe, or interfering in an inmate’s
              personal, intimate routines unrelated to the necessary performance of
              required job duties.

       C.     Sexual Assault Investigations (PREA 115.78(a))

              For purposes of reporting and investigation, sexual assault is categorized
              as one of the following:

              1.      Inmate-on-Inmate

                      a.     Non-Consensual Sexual Acts

                             Contact of any inmate without his or her consent or of an
                             inmate who is unable to consent or refuse; and one or more
                             of the following: contact between the penis and the vagina or
                             the penis and the anus including penetration, however slight;
                             contact between the mouth and the penis, vagina or anus; or
                             penetration of the anal or genital opening of another person
                             by a hand, finger, or other object.

                      b.     Abusive Sexual Contacts

                             Contact of a sexual nature of any inmate without his or her
                             consent or of an inmate who is unable to consent or refuse.
                             Such acts may include kissing, intentional touching, either
                             directly or through clothing of the genitalia, anus, groin,
                             breast, inner thigh or buttocks. This does not include contact
                             in which the intent was to debilitate the inmate.

              2.      Staff-on-Inmate

                      a.     Staff Sexual Misconduct

                             Any behavior or act of a sexual nature toward an inmate by
                             an employee, consensual or nonconsensual, including, but
                             not limited to:
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                             (1)    Intentional touching of the genitalia, anus, groin,
                                    breast, inner thigh, or buttocks with the intent to
                                    abuse, arouse, or gratify sexual desire;

                             (2)    Kissing;

                             (3)    Sexual intercourse;

                             (4)    Completed, attempted, threatened, or requested
                                    sexual acts;

                             (5)    Occurrences of indecent exposure, invasion of
                                    privacy; or

                             (6)    Staff voyeurism for sexual gratification.

                      b.     Staff Sexual Harassment

                             Repeated verbal statements or comments of a sexual nature
                             to an inmate by an employee, including one or more of the
                             following: demeaning references to gender or derogatory
                             comments about body or clothing or repeated profane or
                             obscene language or gestures.

                             Due to the inmate’s custody or supervision status and in
                             accordance with Oklahoma Statute 21 O.S. § 1111.1 and
                             this procedure, no prohibited act of sexual misconduct or
                             harassment between a staff member and an inmate can
                             have as an affirmative defense, a claim of consent.

IV.    Duties and Responsibilities

       A.     Employees

              All employees shall be responsible for:

              1.      Adhering to these procedures by ensuring that their conduct does
                      not constitute or promote sexual assault, abuse or harassment, nor
                      in any other way violate the provisions of these procedures.

              2.      Treating all reported incidents of prohibited conduct seriously and
                      ensure that known, suspected acts or allegations of sexual assault
                      are reported immediately to the supervisor or higher authority and
                      referred to the Office of Fugitive Apprehension and Investigations
                      (OFAI) for investigation in accordance with OP-040117 entitled
                      “Investigations.” (4-4281-3) Failure to report will result in employee
                      discipline.
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              3.      Staff is prohibited from revealing any information related to sexual
                      abuse to anyone other than to the extent necessary (i.e.;
                      designated supervisors or official and designated state and local
                      service agencies) for treatment, investigation and other security
                      and management decisions. (PREA 115.61 (b))

              4.      Providing complete cooperation and full disclosure during any
                      inquiry or investigation into alleged acts of sexual assault, abuse,
                      harassment or retaliation.

              5.      Reporting Abuse of Inmate Under 18

                      In accordance with state law (Title 10A, Section 1-2-101), any
                      employee who has reasonable cause to know or to suspect that an
                      inmate under the age of eighteen (18) has been subject to physical
                      or sexual abuse or who has observed the inmate being subjected to
                      circumstances of physical and/or sexual abuse shall immediately
                      report or cause to be reported such situation to the Oklahoma
                      Department of Human Services. Such report shall be made using
                      the Child Abuse Hotline, 1-800 522-3511. All reports shall be
                      documented using the “Sexual Assault Report, Part A” (Attachment
                      C) and forwarded through the chain of command to the OFAI and
                      Agency PREA coordinator. (PREA 115.61 (d), 115.261(d))

              6.      Staff shall not make judgments or assumptions about the credibility
                      of an alleged victim, suspect, or witness of sexual abuse or
                      harassment. (PREA 115.71 (e), 115.271(e))

              7.      Any contractor or vendor providing goods or services shall be
                      escorted and/or visually observed by staff upon making any
                      entrance onto facility grounds and shall remain under escort and/or
                      visual observation until they exit the facility.

       B.     Investigators, Officers, Managers, Program Supervisors and Correctional
              Supervisors

              1.      Staff, as indicated above, shall be responsible for:

                      a.     Ensuring all substantiated allegations of prohibited conduct
                             are referred appropriately for disciplinary action; (115.78(a))

                      b.     Ensuring all victims who report sexual abuse/assaults are
                             appropriately referred for medical and mental health
                             evaluation/assessment and for crisis intervention counseling
                             and follow-up in accordance with OP-140118 entitled
                             “Emergency Care”; (4-4406) (PREA 115.82)

                      c.     Ensuring adequate measures are taken to provide
                             separation between the alleged victim and alleged suspect,
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                             while ensuring that such separation does not represent a
                             form of punishment for the alleged victim; (PREA 115.64
                             (a)(1))

                      d.     Ensuring all inmates or staff members found guilty of
                             committing sexual assault are disciplined in accordance with
                             agency procedures and will be referred for criminal
                             prosecution by the OFAI (PREA 115.71 (h)); 115.76(d);
                             115.78(a)); and

                      e.     Ensuring any instance of alleged sexual assault is reported
                             appropriately through their chain of command and ensuring
                             the confidentiality of victims in incidents of inmate sexual
                             assault towards inmates is not compromised. (PREA
                             115.51(b))

       C.     Medical/Mental Health Staff

              1.      The agency chief mental health officer ensures each facility unit
                      employs, or has access to, the services of a mental health
                      professional that has a scope of practice, training and/or
                      experience in trauma counseling. Contract facilities shall also
                      ensure inmate access to mental health services.

              2.      Medical and mental health staff/providers shall report sexual abuse
                      and shall inform all inmates during the initial orientation of the
                      staff/provider’s duty to report and the limitations of confidentiality at
                      the initiation of services. (PREA 115.61 (c); 115.261(c))

V.     PREA Training

       All staff who may have contact with inmates shall receive training to emphasize
       the zero tolerance of sexual abuse/harassment, aid in the prevention of sexual
       abuse and harassment of inmates and promote awareness of the serious impact
       of sexual victimization within the correctional setting. (4-4084) (PREA 115.31;
       115.231; 115.32 (a))

       A.     All newly hired ODOC employees shall receive the booklet “Sexual
              Misconduct and Harassment” (Attachment A, attached).

       B.     All ODOC staff, contract staff, non-agency inmate work crew supervisors,
              volunteers and interns shall review their contract and procedures and be
              trained to: (PREA 115.32)

              1.      Understand the agency’s zero tolerance for sexual abuse or
                      harassment and retaliation against an inmate or employee in any
                      form as a result of reporting an allegation of sexual
                      abuse/harassment.
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              2.      Recognize the physical, behavioral and emotional signs of sexual
                      assault and the dynamics of sexual abuse and sexual harassment
                      in confinement.

              3.      The inmate’s right to be free from sexual abuse and harassment.

              4.      How to avoid inappropriate relationships with inmates.

              5.      How to communicate effectively and professionally with lesbian,
                      gay, bisexual, transgender, questioning, intersex, or gender non-
                      conforming inmates.

              6.      How to detect and respond to signs of threatened and actual sexual
                      abuse.

              7.      Understand the agency policy and protocols regarding prevention,
                      detection reporting and response when an alleged sexual assault
                      occurs.

       C.     Training related to the prevention, detection, reporting and response of
              sexual abuse and harassment shall be a part of orientation/pre-service
              training in accordance with OP-100101 entitled “Employee Development.”
              (PREA 115.31,115.32 (a); 115.231; 115.232(a))

              1.      All employees receive this training as part of the orientation and/or
                      pre-service curriculum.

              2.      All employees with inmate contact will receive annual training at
                      their facility/unit. Volunteers who have inmate contact will receive
                      PREA training as part of initial orientation and then every other year
                      thereafter. Such training will be documented and include a review
                      of this procedure and the employees and volunteers’
                      responsibilities to prevent and report sexual abuse and harassment
                      as well as other relevant PREA-related material. (PREA 115.31 (c);
                      115.32 (a); 115.231(c); 115.232(a))

              3.      Contract staff whose primary duties include teaching, training or
                      supervising inmates, shall receive training on the agency’s zero
                      tolerance policy regarding sexual abuse and sexual harassment
                      and how to report such incidents.

       D.     PREA training shall be tailored to the gender of the inmates at the
              employee’s facility/unit. (PREA 115.31 (b))

              If an employee changes work locations, the newly assigned facility/unit
              shall ensure that additional training is provided for such staff that may
              have transferred from a male facility to female facility or from a female
              facility to male facility.
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       E.     Upon initial hire/service or during contract orientation for inmate crew
              supervisors, employees, volunteers or contractors will acknowledge the
              receipt of the “Sexual Misconduct and Harassment” booklet (Attachment
              A) during initial enrollment/orientation. This documentation will be retained
              in the employee personnel file or volunteer/contract file.

              1.      All employees will receive a copy of this procedure at pre-service
                      training or orientation.

              2.      The facility/unit shall ensure all employees/volunteers and
                      contractors sign and acknowledge verification confirming their
                      understanding of the PREA training received utilizing the
                      “Oklahoma Prison Rape Elimination Act Staff Training
                      Acknowledgment” form (Attachment F, attached) or the “Oklahoma
                      Prison      Rape       Elimination    Act      Volunteer/Contractor
                      Acknowledgement” form (Attachment G, attached) This
                      documentation will be retained in the employee/volunteer or
                      contractor/personnel file. (PREA 115.31 (d); 115.32 (c))

       F.     Specialized Training (PREA 115.34)

              1.      Specialized training is provided for employees who may respond,
                      as part of their job duties, to reported incidents of sexual assault.
                      This training may include, but is not limited to: crime scene
                      management, elimination of contamination in accordance with OP-
                      140125 entitled “Bloodborne Pathogen Exposure Control Program,”
                      evidence collection protocol and crisis intervention. (PREA 115.34
                      (a); 115.35 (a))

              2.      ODOC Fugitive Apprehension and Investigations Agents

                      Such training shall include conducting sexual abuse investigations
                      in confinement settings. Documentation of training will be retained
                      in the employee personnel file. (PREA 115.34 (a) (c); 115.71 (b))

              3.      Medical and Mental Health (full and part-time)

                      Mental Health and medical staff will be provided training to detect
                      and assess signs of sexual abuse and/or predation, preserve
                      evidence of sexual abuse, respond to sexual assault victims, and
                      knowledge of department procedures in regard to the PREA
                      reporting process. Documentation shall be retained in the
                      employee’s file. (PREA 115.35 (a)(1,2,3,4))

              4.      If medical staff employed by the agency is authorized to conduct
                      forensic examinations, such medical staff shall receive the
                      appropriate training to conduct such examinations. Documentation
                      shall be retained in the employee’s file. (PREA 115.35; 115.235)
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VI.    Inmate Orientation and Education (PREA 115.33; 115.233)

       Every inmate will receive a written copy of the agency’s orientation material in
       formats or through methods to ensure effective communication. Inmates whose
       primary language is not English will normally be provided a copy or translation of
       the orientation material in their own language. If literacy problems, intellectual
       disabilities/disabilities (visual/hearing impairments) exist, the inmate will be
       assisted in understanding the material. (PREA 115.16(a); 115.16 (b))

       All inmate education shall be provided to inmates by staff. No inmate interpreters
       will be utilized except in exigent circumstances. However, approved community
       or facility volunteers maybe utilized. (PREA 115.16 (c))

       The agency is not required to take actions that it can demonstrate would result in
       a fundamental alteration in the nature of a service, program, or activity, or in
       undue financial and administrative burdens, as those terms are used in
       regulations promulgated under Title II of the Americans With Disabilities Act, 28
       CFR 35.164. (PREA 115.16 (a))

       A.     Verbal and Written Information

              1.      During assessment and reception, all new inmates will receive
                      verbal and written information about sexual abuse and harassment.
                      This information will address the agency and facility zero tolerance
                      standard, prevention/intervention, self-protection, how to report acts
                      or suspicions of sexual abuse, assaults or harassment by inmates
                      or staff to include reporting utilizing the inmate PREA hotline. The
                      inmate PREA hotline phones shall have instructions for use posted
                      in a conspicuous location on or near the phones. (PREA 115.33
                      (a))

              2.      Inmates will also be informed of treatment and counseling services
                      available pertaining to aspects of sexual assaults.

              3.      Additionally, inmates will be informed of sanctions for making false
                      allegations. This information shall also be provided to inmates
                      during initial orientation at all facilities. (4-4281-1, 4-4281-7)(PREA
                      115.52(g); 115.78(f))

              4.      Upon transfer to a different facility, the inmate will receive
                      orientation in regard to PREA policies and procedures which may
                      differ from a previous facility. Community centers shall provide
                      refresher information to transferred inmates.

                      a.     The facility shall maintain documentation of the inmate’s
                             orientation/education. utilizing the “Oklahoma Prison Rape
                             Elimination Act Zero Tolerance Acknowledgments for
                             Inmates” form (Attachment E, attached) or the ““Oklahoma
                             Prison     Rape     Elimination     Act    Zero   Tolerance
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                             Acknowledgments for Inmates (Spanish) (Attachment E-1,
                             attached).

                      b.     Documentation shall be placed in section three of the inmate
                             field file.

       B.     Comprehensive Education

              Within 30 days of intake, the facility where the inmate is housed shall
              provide the following comprehensive education to inmates either in person
              or through video regarding:

              1.      The inmate’s right to be free from sexual abuse and harassment
                      from inmates and staff;

              2.      How to protect themselves from incidents of sexual abuse and
                      harassment from inmates or staff;

              3.      That staff of the opposite gender will enter or be present on the
                      housing units at any time;

              4.      The facility rules and procedures on showering, performing bodily
                      functions, and maintaining an expected state of dress;

              5.      Reporting of sexual abuse/harassment; retaliation by other inmates
                      or staff for reporting sexual abuse or harassment and staff neglect
                      or violation of responsibilities that may have contributed to such
                      incidents. (PREA 115.51(a)) This will include information that the
                      inmate victim has the option to report the incident to a designated
                      staff member or any other staff. Other reporting methods include:
                      facility/unit head, third party contacts, GTL hotline, sick call, request
                      to staff, anonymous, OFAI or the Oklahoma State Bureau of
                      Investigations (OSBI); (PREA 115.51(b))

              6.      Treatment and counseling; and

              7.      ODOC’s zero tolerance for sexual abuse or harassment.

       C.     Information regarding these topics is included in the ODOC “Inmate Rules
              and Regulations Handbook” and the booklet entitled “Inmates’ Guide to
              Sexual Misconduct” (Attachment B, attached) which will be made available
              to all inmates during the assessment and reception orientation.

       D.     The facility/unit head shall designate staff to monitor inmate access to
              handbooks and ensure information regarding sexual abuse and
              harassment is continuously and readily available or visible to inmates
              through posters or other written formats. (PREA 115.33; 115.233)
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VII.   Screening/Assessment at Reception Centers (4-4281-2)

       All inmates receive a mental health screening and/or evaluation, conducted by a
       trained mental health professional during the initial reception and assessment
       process within 24 hours of arrival in accordance with OP-140114 entitled
       “Screening New Arrivals.” This screening and/or evaluation include potential
       vulnerabilities or risks of being sexually abused by other inmates or being
       sexually abusive towards other inmates. These screenings and or evaluations
       are conducted by a qualified mental health professional. (4-4281-4, 4-4281-5)
       (PREA 115.41; 115.241)

       If the screening indicates an inmate has experienced or perpetrated prior sexual
       victimization, whether it occurred in an institutional setting or in the community
       setting, staff shall ensure the inmate is offered a follow-up meeting with a mental
       health provider within 14 days of the intake screening. (PREA 115.81(a)(b);
       115.83(h))

       A.     Inmates with a history of sexually violent behavior are identified, monitored
              in accordance with OP-060106 entitled “Non-Associations and Protective
              Measures.” (4-4281-4) Inmates will be offered counseling by a qualified
              mental health professional.

       B.     Inmates at risk for sexual victimization are identified by mental health or
              intake staff, and monitored by mental health, case management or
              security staff. Inmates are counseled by mental health staff. (4-4281-5)
              Risk factors for inmates included in this category are: younger, older, of
              small stature, first time inmates, mental or physically disabled, serving
              incarceration for a sexual related offense, prior institutional victimization,
              LGBTQI orientation, or perceived by other inmates as weak. (PREA
              115.41; 115.241)

              1.      The facility shall use information from the risk screening evaluation
                      in accordance with OP-030102, Attachment A entitled “Cell
                      Assessment Form” in order to inform staff making housing, work,
                      education, and program assignments; with the goal of keeping
                      those inmates who are at risk of being sexually victimized separate
                      from those at high risk of being sexually abusive.(PREA 115.42(a);
                      115.81(d))

                      a.     Each facility shall make individualized determinations about
                             how to best ensure the safety of each inmate.(PREA
                             115.42(b))

                      b.     In deciding whether to assign a transgender or intersex
                             inmate to a facility for male or female inmates, and in making
                             other housing and programming assignments, the facility
                             shall consider on a case-by-case basis whether a placement
                             would ensure the inmate’s health and safety, and whether
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                             the placement would present management or security
                             problems. (PREA (115.42(c); 115.242(c))

                      c.     Placement and programming assignments for each
                             transgender or intersex inmates shall be reassessed at least
                             twice each year to review any threats to safety experienced
                             by the inmate. (PREA 115.42(d))

                      d.     A transgender or intersex inmate’s own views with respect to
                             his or her own safety shall be given serious consideration.
                             (PREA 115.42(e))

                      e.     Transgender and intersex inmates shall be given the
                             opportunity to shower separately from other inmates. (PREA
                             115.42(f))

                      f.     Searches of transgender or intersex inmates will be
                             conducted in accordance with OP-040110 entitled “Search
                             and Seizure Standards.”

                      g.     Management of gender nonconforming inmates will be
                             handled in accordance with OP-140147 entitled
                             “Management of Gender Nonconforming Inmates.”

                      h.     The agency shall not place lesbian, gay, bisexual,
                             transgender, or intersex inmates in dedicated facilities, units,
                             or wings solely on the basis of such identification or status,
                             unless such placement is in a dedicated facility, unit, or wing
                             established in connection with a consent decree, legal
                             settlement, or legal judgment for the purpose of protecting
                             such inmates. (PREA (115.42(g); 115.242(g))

              2.      As determined by classification or mental health staff and whenever
                      possible, a single occupancy cell will be assigned in accordance
                      with OP-140201 entitled “Mental Health Services Duties and
                      Responsibilities” and OP-030102 entitled “Inmate Housing.”

              3.      Any housing concerns noted during the mental health screening
                      regarding an inmate’s history of sexual abuse-victimization or
                      sexual predatory behavior is communicated to the facility job and
                      housing coordinator for entry into the inmate’s record. (4-4281-2)

              4.      Facilities will ensure appropriate control, for dissemination of
                      information collected through the screening process in order to
                      ensure that sensitive information is not exploited to the detriment of
                      the inmate by staff or other inmates. (PREA 115.41 (c))

VIII.   Screening/Assessment at Receiving Facilities (4-4281-4)
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       A.     Intake screening will be done in accordance with OP-030102 entitled
              “Inmate Housing.” Any inmate who at any time displays predatory
              behavior or the potential for victimization is referred by the facility
              head/designee for appropriate mental health evaluation within 14
              days.(PREA 115.81(a))

       B.     If an inmate is identified as a High Risk Sexual Predator (HRSP) or as a
              victim/potential victim at any time during his/her incarceration, the inmate
              will be evaluated for appropriate housing and programs.

IX.    Use of Protective Custody and Segregation

       A.     Inmates at high risk for sexual victimization shall not be placed in
              involuntary segregated housing unless an assessment of all available
              alternatives has been made, and a determination has been made that
              there is no available alternative means of separation from likely abusers. If
              a facility cannot conduct such an assessment immediately, the facility may
              hold the inmate in involuntary segregated housing for no more than 24
              hours while completing the assessment. (PREA 115.42(a))

       B.     Inmates placed in segregated housing for this purpose shall have access
              to programs, privileges, education, and work opportunities to the extent
              possible. If the facility restricts access to programs, privileges, education
              or work opportunities the facility shall document: (PREA 115.42(b))

              1.      The opportunities that have been limited;

              2.      The duration of limitation; and

              3.      The reasons for such limitations.

       C.     The facility shall assign such inmates to involuntary segregated housing
              only until an alternative means of separation from likely abusers can be
              arranged, and such an assignment shall not ordinarily exceed a period of
              30 days. (PREA 115.42(c))

       D.     If an involuntary segregated housing assignment is made pursuant to
              paragraph (a) of this section, the facility shall clearly document: (PREA
              115.42(d))

              1.      The basis for the facility’s concern for the inmate’s safety; and

              2.      The reason why no alternative means of separation can be
                      arranged.

       E.     Every 30 days, the facility shall afford each such inmate a review to
              determine whether there is a continuing need for separation from the
              general population. (PREA 115.42(e))
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       F.     Inmates who have alleged to have suffered sexual abuse are subject to
              the above requirements. (PREA 115.68)

X.     Reporting/First Response to Sexual Abuse/Assault or Harassment

       A.     All staff, volunteers and contractors shall immediately report to their
              supervisor or higher authority;

              1.      Any knowledge, suspicion, or other information regarding an
                      incident of sexual abuse, assault or harassment that occurred in a
                      facility/unit or other location, whether or not it is part of the agency;

              2.      Retaliation against inmates or staff who reported such incidents;
                      and

              3.      Any staff neglect or violation of responsibilities that may have
                      contributed to an incident or retaliation. (PREA 115.61 (a))

              Staff, volunteers or contractors shall accept reports made verbally,
              anonymously, in writing and from third parties. Verbal reports shall be
              documented in an “Incident/Staff Report (OP-050109, Attachment A) in
              accordance with OP-050109 entitled “Reporting of Incidents.” (PREA
              115.51, 115.51 (c); 115.251(c))

              All incidences of sexual abuse/assault or harassment, including third party
              and anonymous reports, will be reported to the OFAI. The facility head/
              unit head will ensure immediate verbal notification to the director of OFAI
              or the OFAI duty officer, if physical evidence can be gathered. If physical
              evidence is not present due to the assault occurring more than 120 hours
              prior to notification or the event is defined as abusive sexual contact or
              sexual harassment rather than a non-consensual sexual act, notification
              will be made by 9:00 a.m. the following business day to the director of
              OFAI. (PREA 115.61 (e); 115.261(e)) Staff may privately report allegations
              or incidents of sexual abuse/assault or harassment of an inmate to the
              OFAI, PREA Hotline at 405-425-2493 or 1-855-871-4139, as well as
              preareport@doc.state.ok.us. (PREA 115.51; 115.51(d)’; 115.251(d))

              An investigation is conducted and documented whenever an allegation of
              sexual abuse or harassment is reported in accordance with OP-040117
              entitled “Investigations.” Such allegations are treated with discretion and,
              to the extent permitted by law, confidentially. The “Sexual Assault Report”
              (Part A, B and C) (Attachment C, attached) is completed and forwarded to
              the OFAI and Agency PREA coordinator for all allegations of sexual abuse
              and harassment.

       B.     Initial Reports and Separation

              1.      Any inmate may report acts of sexual assault, abuse or harassment
                      to any employee, contract employee or volunteer using available
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                      methods of communication, including but not limited to: verbal
                      reports, “Inmate Grievance Process Request to Staff” (DOC
                      090124D) and/or sick call (DOC 140117A entitled “Request for
                      Health Services”).

              2.      Upon learning of an allegation that an inmate was sexually abused:

                      a.     If the first staff member to respond is a correctional officer
                             the following shall be required: (PREA 115.64 (a)):

                             (1)    Separate the alleged victim and abuser; (PREA
                                    115.64(a); 115.82(b))

                             (2)    Preserve and protect any crime scene until
                                    appropriate steps can be taken to collect any
                                    evidence; (PREA 115.64(a)(2))

                             (3)    If the abuse occurred within a time period that still
                                    allows for the collection of physical evidence, request
                                    that the alleged victim not take any actions that could
                                    destroy physical evidence, including, as appropriate,
                                    washing, brushing teeth, changing clothes, urinating,
                                    defecating, smoking, drinking, or eating; and (PREA
                                    115.64(a)(3))

                             (4)    If the abuse occurred within a time period that still
                                    allows for the collection of physical evidence, ensure
                                    that the alleged abuser does not take any actions that
                                    could destroy physical evidence, including, as
                                    appropriate, washing, brushing teeth, changing
                                    clothes, urinating, defecating, smoking, drinking, or
                                    eating. (PREA 115.64(a)(4))

                      b.     If the first staff responder is not a security staff member, the
                             responder shall be required to request that the alleged victim
                             not take any actions that could destroy physical evidence,
                             and then notify security staff. (PREA 115.64(b))

              3.      Anyone that receives a report of alleged or suspected sexual abuse
                      or harassment from an inmate, whether verbally or in writing will
                      immediately notify the supervisor and complete the “Sexual Assault
                      Report, Part A” (Attachment C).

              4.      The supervisor, through his/her chain of command, should ensure
                      the alleged victim and alleged suspect are physically separated,
                      either through the placement of one or both inmates in segregation,
                      through staff transfer or leave options (including suspension), or
                      other effective means. Once separated, designated staff conducts
                      preliminary interviews with inmates regarding inmate on inmate
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                      alleged sexual abuse or harassment. (PREA 115.64 (a)(1);
                      115.77(a);115.82(b))

              5.      The supervisor handling the incident response shall complete the
                      “PREA Response Checklist” (Attachment H, attached) and include
                      with all other reports of the incident in accordance with Section IX.
                      item A. of this procedure.

              6.      The alleged victim will be immediately taken to medical services for
                      initial evaluation when any immediate first aid treatment is
                      needed.(PREA 115.82(a))

              7.      In incidents where it is conceivable that physical evidence may
                      exist, the OFAI will be immediately contacted for sexual assault
                      response determination prior to inmates being transported to sexual
                      assault examination sites to undergo examination.

              8.      With the alleged victim’s and the investigator’s consent, the case
                      manager and/or the approved Rape Advocate may sit in on OFAI
                      interviews. Any notes taken by the Rape Advocate will be limited to
                      the notation of emotional status and forwarded to mental health
                      staff. Notes shall not reflect investigative information.

       C.     Zero Tolerance

              When no physical evidence is present the director of OFAI or designee
              may authorize the reporting official to investigate allegations of inmate on
              inmate sexual assault (touching) or inmate on inmate and staff on inmate
              harassment. Compliance for zero tolerance may be demonstrated through
              the misconduct process or separation. The facility will complete
              Attachment C (Parts A, B, and/or C) as applicable and submit these
              attachments to the director of OFAI and Agency PREA coordinator at the
              conclusion of their investigation.

       D.     Retaliation/Monitoring

              The facility shall ensure any inmate or staff reporting allegations of sexual
              abuse or sexual harassment or cooperate in an investigation involving
              such allegations are protected from retaliation by other inmates or staff.
              The facility/unit head shall designate staff to monitor retaliation and take
              appropriate action(s) to include: (PREA 115.67 (a)(e))

              1.      Employing protective measures, such as housing changes or
                      transfers for inmate victims or abusers;

              2.      Removal of alleged staff or inmate abusers from contact with
                      victims; (PREA 115.67 (b))
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              3.      Engaging emotional support services such as mental health
                      services for inmates and the Employee Assistance Program for
                      staff who fear retaliation for reporting sexual abuse or harassment
                      or for cooperating with investigations; and

              4.      For at least 90 days following a report of sexual abuse, a facility
                      designated monitor(s) shall assess the conduct and treatment of
                      the inmates or staff who reported the abuse and of inmates who
                      were reported to have suffered sexual abuse for changes that may
                      suggest possible retaliation by inmates or staff. Findings shall be
                      reported to the facility/unit head who shall act promptly to remedy
                      any such retaliation. The facility monitoring will include: (PREA
                      115.67 (c))

                      a.     Inmate discipline or misconducts;

                      b.     Housing, program or classification changes;

                      c.     Negative job/performance reviews;

                      d.     Reassignment of staff;

                      e.     If the inmate or staff is transferred during this 90 day period,
                             the facility head of the current facility shall notify the
                             receiving facility head of the continued need for monitoring;
                             (PREA 115.67(c); 115.267(c))

                      f.     The agency shall continue such monitoring beyond 90 days
                             if the initial monitoring indicates a continuing need; and
                             (PREA 115.67 (c))

                      g.     In the case of inmates, such monitoring shall also include
                             periodic status checks. (PREA 115.67 (d))

              5.      Monitoring of staff and inmates shall be documented utilizing the
                      “Inmate Protection Against Retaliation” form (Attachment I,
                      attached) or the “Staff Protection Against Retaliation” form
                      (Attachment J, attached).

              6.      The facility/unit obligation to monitor shall terminate if the OFAI
                      determines the allegation is unfounded. (PREA 115.67 (f); 115.267
                      (f))

XI.    Reporting to Other Confinement Facilities (PREA 115.63; 115.263)

       A.     Notification (PREA 115.63)

              Upon receiving an allegation of an inmate being sexually abused while
              confined at another facility/unit or contract facility, the head of the
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              facility/unit who received the allegation shall notify the head of the
              facility/unit or appropriate office of the agency where the alleged abuse
              occurred. (PREA 115.63 (a))

              1.      Such notifications shall occur by the facility/unit head as soon as
                      received and no later than 72 hours after receiving the allegation.
                      (PREA 115.63 (b))

              2.      The facility will document the reporting of the allegation notification.
                      (PREA 115.63 (c))

              3.      The facility/unit head or office receiving such notification shall
                      ensure the allegation is reported to the OFAI for investigation.
                      (PREA 115.63 (d))

       B.     General Investigatory Guidelines

              All case records associated with claims of sexual assault; including
              incident reports, investigation reports, inmate information, and case
              disposition are retained in the OFAI investigation file. Medical and mental
              health evaluative findings and recommendations for pre and post-release
              treatment and counseling are retained in the inmate mental health medical
              record. (4-4281-3) All allegations and resulting investigations will be
              conducted in accordance with OP-040117 entitled “Investigations” and if
              substantiated, will be presented to the District Attorney for criminal
              prosecution. (PREA 115.71 (h))

              1.      A “Sexual Assault Report” Part B or C (Attachment C) is completed
                      by the investigator upon completion of the investigation and is
                      included in the investigation report, along with Part A.

              2.      The “Sexual Assault Report” is retained by the OFAI for reporting
                      purposes.

       C.     Investigative Techniques

              Interviews are conducted in a thorough, professional, non-abusive and
              non-threatening manner. Action and exploration of findings consistent with
              acceptable practice are employed to help potentially traumatized victims of
              sex crimes.

              1.      OFAI agents are trained specifically in the investigations of sexual
                      assault in confined settings.

              2.      Gender-specific investigators are assigned if deemed necessary.

       D.     Investigating Sexual Assaults
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               Investigations are conducted in accordance with OP-040117 entitled
              “Investigations.” If necessary, investigators will consult with, and have
              available during interviews, mental health support staff.

              The facility shall maintain or attempt to enter into memoranda of
              understanding (MOU) or other agreements with community service
              providers who are able to provide inmates with confidential emotional
              support services related to sexual abuse. If an MOU/agreement is entered
              into, the facility will provide inmates access to the contact information for
              the community service provider as outlined in the MOU/agreement. (PREA
              115.53(a)(c); 115.253(a)(c))

              1.      Preservation of Evidence in Recent Sexual Assaults

                      If the alleged sexual assault is reported or discovered within 120
                      hours of the incident, in addition to the provisions in this section, the
                      following steps are taken by the agent, if present, or the person
                      who is in charge in accordance with OP-140118 entitled
                      “Emergency Care.”

                      a.     Physical Evidence – Victim

                             (1)    The OFAI will determine if the need for a sexual
                                    assault medical forensic exam exists, the alleged
                                    victim shall not be instructed to undress prior to
                                    transport to the hospital emergency room or sexual
                                    examination site. The inmate’s clothing will be
                                    retrieved as evidence at the hospital or exam site by
                                    the sexual assault nurse examiner (SANE) or sexual
                                    assault forensic examiner (SAFE). The transport staff
                                    will ensure the inmate is transported with facility
                                    clothing for changing into after the examination.

                                    However, if the inmate is not taken for an off - site
                                    exam, at the direction of the OFAI, staff may be
                                    directed to immediately collect the inmate’s clothing.
                                    In doing so, the inmate will be directed to undress
                                    over a clean sheet to collect any potential evidence.
                                    All will be placed in new individual paper bags with
                                    the appropriate chain of evidence form attached.

                             (2)    Forensic evidence collected by the hospital
                                    emergency SANE/SAFE staff will be collected by FAI
                                    agents through appropriate protocol(s).

                      b.     Physical Evidence – Inmate Suspect

                             (1)    Immediately upon being identified as the alleged
                                    suspect who reportedly committed an assault within
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                                    120 hours, the inmate will be instructed to undress
                                    over a clean sheet to collect any potential forensic
                                    evidence that may fall from the person. The sheet,
                                    along with the alleged suspect’s clothing, will be
                                    collected as evidence and placed in a paper bag with
                                    an appropriate chain of evidence form attached.

                             (2)    Thereafter, the alleged suspect under investigation
                                    will be held in segregation until the investigation is
                                    completed, unless other circumstances require
                                    transfer.

                             (3)    During the course of the investigation, the alleged
                                    victim and alleged suspect will remain separated.

                      c.     Physical Evidence - Crime Scene

                             (1)    Based upon the amount of time passed since the
                                    alleged incident and other factors, a determination will
                                    be made to assess whether there is a possibility of
                                    the evidence still existing at the crime scene. If
                                    determined that a possibility of evidence still exists,
                                    and if possible, the crime scene is secured and any
                                    potential evidence remains for the agent’s
                                    examination.

                             (2)    If the crime scene cannot be secured, the crime
                                    scene will be photographed and/or video-taped and if
                                    any evidence exists, placed in a paper bag with a
                                    chain of evidence form attached.

                             (3)    If a potential crime scene is established, limited
                                    access will be authorized and a log maintained as
                                    established in OP-040117 entitled “Investigations.” (4-
                                    4207)

              2.      Investigation of Sexual Assaults Occurring More than 120 Hours
                      after the Incident

                      If the alleged sexual assault is reported or discovered more than
                      120 hours after the incident, the following steps will be taken by the
                      supervisor in charge:

                      a.     If feasible, secure the alleged crime scene, as forensic
                             evidence may exist.

                      b.     Place the alleged victim in an environment to assure safety
                             and security.
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                      c.     Place the alleged inmate suspect, if known, in segregation or
                             if a staff member, ensure separation from the victim.

                      d.     Notify the OFAI and the victim support designee. If the victim
                             support person is not on-site, he/she is notified the next day.

                      e.     If injuries are reported by the inmate or are visible, ensure
                             the victim is examined by medical. Mental health providers
                             shall be immediately notified

              3.      Interviewing and Reporting Guidelines

                      a.     A victim support person or case manager is permitted to sit
                             in on any victim interviews if requested by the victim. Only
                             employees, agency volunteers or community rape advocates
                             approved in accordance with the community service provider
                             memoranda of understanding who voluntarily agree to act as
                             victim support persons, are utilized in this capacity. Victim
                             support persons acting in this capacity will be approved by
                             the facility/unit head.

                      b.     A medical report to the facility head/unit head will document
                             the incident and treatment of the alleged victim in
                             accordance with MRSM 140118-01 entitled “Management of
                             Alleged Rape/Sexual Assault.”

                      c.     Findings/Recommendations

                             The investigative report will indicate whether the evidence
                             substantiates a sexual assault has occurred or the
                             allegations are unsubstantiated or unfounded. The FAI agent
                             or facility will complete the “Sexual Assault Report”, Part B or
                             C (Attachment C) and include it with the investigative report.
                             The facility will forward Parts A, B, and/or C of Attachment C
                             to the OFAI and Agency PREA coordinator at the conclusion
                             of the facility’s investigation. If there is a substantiated
                             finding of sexual assault which violates state statute, a copy
                             of the FAI agent’s report and supporting documentation/
                             evidence will be forwarded by the OFAI to the appropriate
                             jurisdiction for possible criminal prosecution. (PREA 115.71
                             (d)(h); 115.77(a))

                      d.     Prosecutions

                             The FAI agent will thoroughly document each case to assure
                             evidence in the event of criminal prosecution of sexual
                             assault. (PREA 115.77(a))

                      e.     Tracking of Confirmed Sexual Assault Perpetrators
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                             The FAI Unit will gather information regarding sexual assault
                             in accordance with OP-040119 entitled “Intelligence.” The
                             information will be obtained from completed investigations.

                             (1)    Confirmed sexual perpetrators will also be entered
                                    into the Offender Management System (OMS) by the
                                    OFAI and administrative flags will be utilized to
                                    monitor the movements of such inmates.

                             (2)    The agency PREA coordinator will submit annual
                                    information regarding sexual assault to the United
                                    States Census Bureau as required by PREA.

                      f.     Upon an inmate’s release to probation or parole, the
                             appropriate regional office will determine if any flags have
                             been placed on new release inmates and ensure that
                             appropriate action is taken if needed.

                             In the event that a probationer or parolee reports to his/her
                             probation officer that he/she was the victim of sexual
                             assault, abuse, or harassment while incarcerated but never
                             reported the incident, the probation and parole officer
                             receiving this information will immediately report the
                             allegation to his/her supervisor who will immediately contact
                             the OFAI. The probationer or parolee will then be referred to
                             community resources for medical and or mental health
                             services.

XII.   Notifications to Inmate Victims of Sexual Assault/Abuse

       A.     Following an investigation into an inmate’s allegation that he or she
              suffered sexual abuse in an agency facility (state or contracted with
              ODOC), the facility head shall inform the inmate victim at the conclusion
              of the investigation as to whether the allegation has been determined to
              be substantiated, unsubstantiated or unfounded. (PREA 115.73(a))

       B.     Following an inmate’s allegation that a staff member has committed a
              sexual offense against the inmate, the facility head shall: (PREA 115.73
              (c))

              1.      Subsequently inform the inmate victim (unless the investigation
                      determines the allegation is unfounded) whenever the staff member
                      is: (PREA 115.73(c))

                      a.     No longer posted at the inmate’s unit. (PREA 115.73(c)(1))

                      b.     No longer employed at the facility. (PREA 115.73(c)(2))
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                      c.     Indicted on a sexual offense. (PREA 115.73(c)(3))

                      d.     Convicted of a sexual offense. (PREA 115.73(c)(4))

        C.    Ensure notification is documented on the routing sheets in the
              comments/review section of the OFAI investigation file.

        D.    Following an inmate’s allegation of a sexual offense by another inmate,
              the facility head or designee shall: (PREA 115.73(d))

              1.      Subsequently inform the alleged victim whenever the suspect
                      inmate has been indicted or convicted on the sexual offense.
                      (PREA 115.73(d)(1)(2))

              2.      The facility head will ensure notifications to inmates are
                      documented on the “Notification of Investigation Status” form
                      (Attachment D, attached) and placed in the FAI investigation file.
                      (PREA 115.73(e))

        E.    Obligation to report under this standard shall terminate if the inmate victim
              is released from custody. (PREA 115.73(f); 115.273(f))

XIII.   Sexual Abuse Incident Reviews

        In all instances when sexual abuse is not unfounded (whether substantiated or
        unsubstantiated) through an investigation, at the conclusion of the investigation
        the facility shall conduct a sexual abuse incident review. (PREA 115.86(a)) This
        review shall occur within 30 days of the receipt by the facility or of the FAI
        investigative findings. (PREA 115.86(b)) The review team shall include
        administrative staff, with input from line supervisors, investigators,
        medical/mental health professional and facility PREA compliance manager.
        (PREA 115.86(c))

        A.    Review Team (PREA 115.86(d))

              The review team shall:

              1.      Convene monthly to review any facility incident                     or   FAI
                      investigations substantiated or unsubstantiated findings;

              2.      Consider whether the allegation or investigation indicates a need to
                      change policy or practice to better prevent, detect, or respond to
                      sexual abuse;(PREA 115.86(d)(1))

              3.      Consider whether the incident or allegation was motivated by race;
                      ethnicity; gender identity; lesbian, gay, bisexual, transgender, or
                      intersex identification, status, or perceived status; or gang affliction;
                      or was motivated or otherwise caused by other group dynamics at
                      the facility; (PREA 115.86(d)(2))
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              4.      Examine the area in the facility where the incident allegedly
                      occurred to assess whether physical barriers in the area may
                      enable abuse; (PREA 115.86(d)(3))

              5.      Assess the adequacy of staffing levels in that area during different
                      shifts; (PREA 115.86(d)(4))

              6.      Assess whether monitoring technology should be deployed or
                      augmented to supplement supervision by staff; and (PREA
                      115.86(d)(5))

              7.      Prepare a report of its findings utilizing the “Sexual Abuse Incident
                      Review” form (Attachment K, attached), including but not
                      necessarily limited to determinations made pursuant to paragraphs
                      (d)(1)-(d)(5) of this section, and any recommendations for
                      improvement and submit the “Sexual Abuse Incident Review” form
                      (Attachment K) to the regional director and agency PREA
                      coordinator within 30 days after the review teams conclusion.
                      (PREA 115.86(d)(6), 115.286(d)(6))

              8.      The facilities shall implement the recommendations for
                      improvement or shall document the reasons for not doing so.
                      (PREA 115.86(e))

XIV.   ODOC Medical Services Responsibilities

       A.     Provision of Medical Care for Inmates (Alleged Victims and Alleged
              Suspects)

              Medical Services will follow established protocol, which includes
              provisions for initial examination, documentation, transport to local
              emergency medical care when appropriate, testing for sexually transmitted
              diseases (including an HIV test) with counseling as appropriate,
              prophylactic treatment, follow up and mental health counseling and
              support as defined in OP-140118 entitled “Emergency Care.” Non-
              consensual sexual incidents will be documented in the inmate’s electronic
              health record by a qualified heath care provider utilizing the
              nonconsensual sexual contact nursing protocol form.

       B.     Guidelines for Medical Care and Investigations at Community Medical
              Facilities (4-4406)

              Victims of sexual assault will be referred under appropriate security
              provisions to a community-based health care provider or hospital.

       C.     Mental Health Care Provider
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              The qualified mental health professional (QMHP) or correctional health
              services administrator will be notified as soon as possible, but no later
              than the next business day of all alleged sexual abuse/assaults. After
              providing mental health counseling, the QMHP will consult with the
              investigating   agent    regarding     the   investigation.   Appropriate
              assistance/mental health services will be available to the inmate victim(s)
              of sexual assault in accordance with OP-140201 entitled “Mental Health
              Services Duties and Responsibilities.”

XV.    Agency Reporting/Database Requirements

       A.     The OFAI shall collect accurate, uniform data for every allegation of
              sexual abuse at facilities using a standardized instrument and set of
              definitions. (PREA 115.87(a)) The data shall be securely retained. (PREA
              115.89(a))

              Incident-based data collected shall include, at a minimum, the data
              necessary to answer all questions from the most recent version of the
              Survey of Sexual Violence conducted by the Department of Justice.
              (PREA 115.87(c))

              1.      The agency shall aggregate the incident-based sexual abuse data
                      at least annually. (PREA 115.87(b))

              2.      The agency shall maintain, review, and collect data as needed from
                      all available incident-based documents, including reports,
                      investigation files, and sexual abuse incident reviews. (PREA
                      115.87(d))

              3.      The agency shall also obtain incident-based and aggregated data
                      from every private facility with which it contracts for the confinement
                      of its inmates. (PREA 115.87(e))

              4.      Upon request, the agency shall provide all such data from the
                      previous calendar year to the Department of Justice no later than
                      June 30.(PREA 115.87(f))

       B.     The report will be approved by the agency director and made available on
              the agency website and updated annually. Individually identifying
              information will be redacted. (PREA 115.88(c);115.89(b)(c))

       C.     The agency shall maintain sexual abuse data collected pursuant to 115.87
              for at least ten years after the date of the initial collection unless Federal,
              State, or local law requires otherwise. (PREA 115.89(d))

       D.     Records

              The following categories are designated by Bureau of Justice Uniform
              Crime Reports. Records document the following:
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              1.      Victim Information

                      a.     Date of incident(s);

                      b.     Facility;

                      c.     Number of victims;

                      d.     Gender of victim(s);

                      e.     Age category of victim(s);

                      f.     Race/ethnic origin of victim(s);

                      g.     Location and time of incident(s);

                      h.     Injuries sustained by the victim(s) during the incident(s);

                      i.     Medical treatment, counseling or mental health treatment,
                             testing for HIV/AIDS or other sexually transmitted diseases,
                             or rape kit provided or administered to the victim(s);

                      j.     Person(s) who reported the incident;

                      k.     Steps taken to protect the victim(s);

                      l.     Type of sexual assault (inmate-on-inmate nonconsensual
                             sexual act or abusive sexual contact or staff sexual
                             misconduct or harassment); and

                      m.    Whether incident occurred in area subject to video monitoring.

              2.      Inmate-on-Inmate Perpetrator Information

                      a.     Number of perpetrators;

                      b.     Gender of perpetrator(s);

                      c.     Age category of perpetrator(s);

                      d.     Race/ethnic origin of perpetrator(s);

                      e.     Nature of the incident;

                      f.     Type of pressure or physical            forces   used       by   the
                             perpetrator(s) on the victim(s); and

                      g.     Sanctions imposed on the perpetrator(s).
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              3.      Staff-on-Inmate Perpetrator Information

                      a.     Nature of the incident;

                      b.     Number of staff involved;

                      c.     Gender of the staff member(s);

                      d.     Age of staff member(s);

                      e.     Race/ethnic origin of staff member(s);

                      f.     Staff classification (i.e., full or part-time employee, volunteer,
                             intern, contract employee, vendor, etc.);

                      g.     Primary position description of staff member(s);

                      h.     Sanctions imposed on the staff member(s); and

                      i.     Time period staff has been employed at facility.

XVI.   Confidentiality

       All documents associated with claims of sexual assault, including incident
       reports, investigative reports, inmate information, case disposition, medical and
       mental health evaluation findings and recommendations for post release
       treatment and/or counseling are confidential and retained by ODOC. (4-4281-8)
       All investigative files are considered confidential information. Copies of the
       investigative file will be maintained by the OFAI. (PREA 115.61 (b); 115.89(a))

XVII. References

       Policy Statement No. P-030100 entitled “Provisions of Services/Inmate Rights
       and Responsibilities”

       OP-030102 entitled “Inmate Housing”

       OP-040110 entitled “Search and Seizure Standards”

       OP-040117 entitled “Investigations”

       OP-040119 entitled “Intelligence”

       OP-050109 entitled “Reporting of Incidents”

       OP-060106 entitled “Non-Associations and Protective Measures”

       OP-100101 entitled “Employee Development”
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       OP-140114 entitled “Screening New Arrivals”

       OP-140118 entitled “Emergency Care”

       OP-140125 entitled “Bloodborne Pathogen Exposure Control Program”

       OP-140147 entitled “Management of Gender Nonconforming Inmates”

       OP-140201 entitled “Mental Health Services Duties and Responsibilities”

       MSRN 140118-01entitled “Management of Alleged Rape/Sexual Assault”

       Prison Rape Elimination Act of 2003, P.L. 108-79

       Prison Rape Elimination Act Prisons and Jails Standards

       Community Confinement Standards

       21 O.S. 1111.1 Paragraph 7

       21 O.S. § 1123

       Bureau of Justice Statistics Status Report entitled, “Implementing the Prison
       Rape Elimination Act of 2003” addressing “How Will Rape Be Measured?”
       (February 5, 2004)

       Center for Disease Control, National Center for Injury Prevention and Control,
       report entitled “Sexual Violence Surveillance: Uniform Definitions and
       Recommended Data Elements” (2002)

XVIII. Action

       The facility/unit heads are responsible for the development of local procedures.

       The regional directors/deputy directors are responsible for compliance with this
       procedure.

       The regional director, Region I is responsible for the annual review and revisions.

       Any exceptions to this procedure will require prior written approval from the
       agency director.

       This procedure will be effective as indicated.

       Replaced:      Operations Memorandum No. OP-030601 entitled “Oklahoma
                      Prison Rape Elimination Act” dated July 17, 2017

       Distribution: Policy and Operations Manual
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                      Agency Website
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Referenced Forms             Title                                               Location

DOC 090124 D                 “Inmate Grievance Process Request to Staff”         OP-090124

DOC 140117A                  “Request for Health Services”                       OP-140117

Attachments                  Title                                               Location

Attachment A                 “Cell Assessment Form”                              OP-030102

Attachment A                 “Sexual Misconduct and Harassment”                  Attached

Attachment B                 “Inmates’ Guide to Sexual Misconduct”               Attached

Attachment C                 “Sexual Assault Report-Parts A, B and C”            Attached

Attachment D                 “Notification of Investigation Status”              Attached

Attachment E                 “Oklahoma Prison Rape Elimination Act Zero          Attached
                             Tolerance Acknowledgements for Inmates”

Attachment E-1               “Oklahoma Prison Rape Elimination Act Zero          Attached
                             Tolerance Acknowledgements for Inmates
                             (Spanish)”

Attachment F                 “Oklahoma Prison Rape Elimination Act Staff         Attached
                             Training Acknowledgement”

Attachment G                 “Oklahoma Prison Rape Elimination Act      Attached
                             Volunteer/Contactor Training Acknowledgement”

Attachment H                     “PREA Response Checklist”                       Attached

Attachment I                     “Inmate Protection Against Retaliation”         Attached

Attachment J                 “Staff Protection Against Retaliation”              Attached

Attachment K                 “Sexual Abuse/Harassment Incident Review”           Attached

Attachment A                 “Incident/Staff Report”                             OP-050109
